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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                 :
                                         :       CRIMINAL ACTION NO.
v.                                       :       3:08-cr-4 (JCH)
                                         :
ROBERT RAWLS                             :       JUNE 17, 2008

                                        ORDER

       Defendant Robert Rawls has filed a motion to suppress post-arrest statements

he made in DEA custody while being transported to the West Haven Police

Department. See Doc. Nos. 217, 330. Rawls claims that his statements were made in

violation of his Miranda rights.

       The only evidence Rawls offers in support of his claim is a DEA-6 report which

states that after his arrest, Rawls “spoke casually” to the two DEA agents who were

transporting him. Rawls points out that nothing in the DEA-6 report indicates that Rawls

had been read his Miranda rights before making these statements.

       Miranda’s protection only extends to individuals subjected to custodial

interrogation. See Miranda v. Arizona, 384 U.S. 436, 444 (1966). In this case, there is

no evidence before the court that Rawls was subject to an “interrogation” while being

transported. Indeed, from the face of the DEA-6, he appears to have volunteered his

information without any compulsion from the government (aside from the fact that he

was taken into custody). This is insufficient to trigger Miranda. See Rhode Island v.

Innis, 446 U.S. 291, 300 (1980) (explaining that “interrogation” under Miranda “must

reflect a measure of compulsion above and beyond that inherent in custody itself”).

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      The defendant’s Motions to Suppress [Doc. Nos. 217, 330] are DENIED

WITHOUT PREJUDICE. If the defendant believes that the circumstances of his

statement were such that there was a constitutional violation, the defendant can file a

renewed motion with a supporting affidavit.

SO ORDERED.

      Dated at Bridgeport, Connecticut, this 17th day of June, 2008.


                                          /s/ Janet C. Hall
                                         Janet C. Hall
                                         United States District Judge




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